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Yi Yi                                                                                  7/6/2019, 2:50 AM
Okay.

Yi Yi                                                                                  7/6/2019, 2:51 AM
Okay.

Keren He <                                                                             7/6/2019, 2:52 AM
Okay, margin is still in the testing stage. There have been bugs found by users recently, they are still fixing
them. For example, the FAQ says that there is no fee for borrowing within one hour, but there is interest for a
few minutes of borrowing. Therefore, from the perspective of products and technologies, they want it stable, so
our online activities will be put behind. Social media has already agreed with darc to post on Twitter on
Tuesday and help them find 1000 people to test. The official PR should be next week.

Keren He <                                                                             7/6/2019, 2:53 AM
There will be quite a lot of requirements for communication in the future, and we will have to discuss it carefully
at that time.

Keren He <+                                                                          7/6/2019, 2:54 AM
We have also pulled out the data of major customers in this area, which is very painful. We will also contact
individual customers one by one to ask them to change their IP and KYC.

Yi Yi <                                                                                7/6/2019, 2:55 AM
10btc and above may need to be exchanged.

Keren He <                                                                              7/6/2019, 2:55 AM
Too much work, boss.

Keren He <                                                                       7/6/2019, 2:55 AM
US accounts:
1. KYC + IP in the United States: the total is 175,221 sitewide.
2. VIP users (monthly transaction volume above 100 BTC ): 3516
3. 12 VIP8s, 15 VIP5-7s, 37 VIP3-4s, and 3452 VIP1-2s. _
4. KYC is the United States: 1037, need to change account KYC (including 17 above VIP3, need special
   communication)
4. The IP is displayed as the United States: 2620, the VPN needs to be updated.

Keren He <                                                                             7/6/2019, 2:55 AM
Still hurts.

Yi Yi <                                                                                7/6/2019, 2:55 AM
If we don't change, there might be even more losses.

Yi Yi <+                                                                               7/6/2019, 2:56 AM
There hasn’t been statistics for the VIP B class yet.

Keren He                                                                                7/6/2019, 2:59 AM
Take a look at 2, 3516 includes class B.

Keren He                                                                            7/6/2019, 2:57 AM
The current strategy is that A and B above VIP3 will be notified one by one next week and let them change
their IP + KYC. For those below 3, we need to discuss whether we can send emails, and we can only contact
the top users individually.

Wanxin Chen<                                                                            7/6/2019, 3:20 AM
What factors may prevent us from sending emails to users?
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Keren He <                                                                         7/6/2019, 3:33 AM
One is that we will be much exposed before we lock, because a number in thousands is too large.
Second, after being exposed by the media, the United States will know that we are transferring American users
on a large scale.

Yi Yi <+                                                                       7/6/2019, 2:59 AM
For VIP users, it is worthwhile to spend some time on guidance compared to going outside to pich [sic] and
letting them go internally.

Keren He <                                                                        7/6/2019, 2:59 AM
It would be good to settle 100 first.

Yi Yi <+                                                                          7/6/2019, 3:00 AM
1 on 1 guide for the top ones.

Yi Yi <                                                                           7/6/2019, 3:00 AM
For the bottom ones, let’s see how we can guide them with techniques.

Keren He <+                                                                       7/6/2019, 3:00 AM
Well, this is what we need to talk to them.

Keren He <                                                                        7/6/2019, 3:00 AM
VIP8s are mostly in the United States. It would be a huge loss if we lose them.

Yi Yi <                 >                                                         7/6/2019, 3:00 AM
Let's go over them from the top.

Yi Yi <                                                                           7/6/2019, 3:02 AM
These 3500 needs 1-on-1 communications from the top

Yi Yi <+                                                                          7/6/2019, 3:02 AM
Need to divide them.

Keren He <+                                                                       7/6/2019, 3:02 AM

Keren He <                                                                        7/6/2019, 3:02 AM




Keren He <                    >                                                   7/6/2019, 3:03 AM
Let me think about it. There are too many places that need the support of VIPs.

Wanxin Chen<+                                                                       7/6/2019, 3:22 AM
In addition, Lisa, do you have any FAQs that suggest actions for US users? Not just about changing IP and
KYC; for example, if users could not change IP, do they need to make withdrawals between June 15th and
July 1st ?

Keren He <+                 >                                                7/6/2019, 3:35 AM
I need to discuss this with Compliance and Sunny. I have to think carefully about the wording I use to
communicate with users now.

Wanxin Chen<+                 >                                               7/6/2019, 3:34 AM
According to the plan, an announcement should be made on June 15th, and the PR is preparing explanations
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to deal with the media.

Keren He <                     >                                                     7/6/2019, 3:36 AM
Oh, then it will be easier on my side.
Another concern is that the United States knows that we are individually contacting institutions for the transfer
of accounts.

Wanxin Chen<+                    >                                                   7/6/2019, 4:07 AM
Hmm, the explanation is quite tense right now. Jessica is mainly in charge of media explanation, and has already
listed a series of questions for Samuel of Compliance to respond. Regarding the FAQ that will be published and
sent to the community and social media users at that time, maybe you should check with Sunny ?

Wanxin Chen<                      >                                                         7/6/2019, 4:10 AM
Regarding the fact that the U.S. government knows that we are individually contacting with VIP users, Sister Yi
just called and told me that the suggestion is for everyone to give advice in their own name. Even if the
communication content is leaked or exposed, it should not affect the company too much.
Sister Yi, regarding this, I thought about it, and I think it should work. But it can only be done by phone calls, and
there must be no written evidence.
In addition, in the United States, it is generally felt that if an employee in the company gives "unreliable" advice
and is exposed by the media, if the employee is named with the exposure, the public will generally expect the
employee to be fired. I don't know if we can afford this.

Yi Yi <                   >>                                                             7/6/2019, 4:10 AM
Use fake names then.

Yi Yi <                >>                                                                7/6/2019, 4:10 AM
Keep the phone call whenever possible.

Wanxin Chen<                    >                                                7/6/2019, 6:22 AM
@kerenhe We drafted a list of questions users might ask about US IP block and the new US Exchange. Can
you take a look and see if there is anything needs to be added?
